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                   CRIMINAL CAUSE FOR STATUS CONFERENCE

BEFORE: SEYBERT,J.        DATE:    1/ 5/2018        TIME:    2:00

DOCKET NUMBER: CR 17-690               TITLE: USA-V-

DEFT NAME: ZOOBIA SHAHNAZ                                     DEFT: #
      X PRESENT    NOT PRESENT          X IN CUSTODY          ON BAIL

        ATTY. FOR DEFT.: STEVE ZISSOU                          X C.J.A.
                        X PRESENT              NOT PRESENT       RET

A.U.S.A. J. ARTHUR McCONNELL                   DEPUTY CLERK: CHARLES BARAN

COURT REPORTER:         X P. AUERBACH           E. COMBS          M. FOLEY
   F. GUERINO             P. LOMBARDI          M. STEIGER        D. TURSI
   O. WICKER

 X     CASE CALLED.     ALL COUNSEL PRESENT.      CONFERENCE HELD.

 X     CASE ADJOURNED TO 3/ 5/2018 AT 11:30AM FOR STATUS CONFERENCE.

       MOTION CONFERENCE HELD ON                         'S MOTION TO


      ARGUMENT HEARD              MOTION GRANTED.           MOTION DENIED.
                                  DECISION RESERVED.

       DECISION ENTERED INTO THE RECORD.

 X     SPEEDY TRIAL INFORMATION:
       CODE TYPE: X-           START DATE:         1/ 5/2018         XSTRT
                               STOP DATE:          3/ 5/2018         XSTOP

X      DEFT. CONTINUED IN CUSTODY.

       DEFT. CONTINUED ON BAIL.
       JURY SELECTION & TRIAL SCHEDULED FOR

       MOTIONS TO BE MADE BY
       RESPONSE BY GOVERNMENT BY

       REPLY IF ANY BY

 X     OTHER: SPEEDY TRIAL TIME EXCLUDED DUE TO DISCOVERY                    .
